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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

JEROME A. MARTIN                                                                   PLAINTIFF

v.                                              CIVIL ACTION NO. 3:19-cv-925-DPJ-FKB

SANDERSON FARMS, INC.                                                            DEFENDANT


                          NOTICE OF SERVICE OF DISCOVERY


TO:    All Counsel of Record

       NOTICE IS HEREBY GIVEN, pursuant to the Uniform Local Rules, that Sanderson

Farms, Inc. has this date served in the above styled action:

                 INITIAL DISCLOSURES OF SANDERSON FARMS, INC.

       The undersigned retains the original of the above document as custodian thereof.

       DATED: May 1, 2020.


                                                      SANDERSON FARMS, INC.

                                              By:     /s/_Emily G. Barr            _______
                                                      Walter J. Brand (MSB #4313)
                                                      Emily G. Barr (MSB #105286)
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                                                      Counsel for Sanderson Farms, Inc.
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                                CERTIFICATE OF SERVICE

       I do hereby certify that I electronically filed the foregoing document with the Clerk of

Court using the ECF system, which sent notification of such filing to the following:

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               Counsel for Plaintiff

       This the 1st day of May 2020.

                                                    /s/ Emily G. Barr      _______
                                                       Emily G. Barr
